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           ORAL ARGUMENT HELD DECEMBER 7, 2022
                           No. 22-5069
               (Consolidated with 22-7030, 22-7031)

           IN THE UNITED STATES COURT OF APPEALS
            FOR THE DISTRICT OF COLUMBIA CIRCUIT
                      _____________________

           JAMES BLASSINGAME AND SIDNEY HEMBY,

                                          Appellees,
                                  v.

                         DONALD J. TRUMP,

                                          Appellant.
                       _______________________

           On Appeal from the United States District Court
                    for the District of Columbia
                      _______________________

  BRIEF FOR APPELLANT DONALD J. TRUMP IN RESPONSE TO
          THE UNITED STATES AS AMICUS CURIAE
                  _______________________

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                                 INTRODUCTION

      The Department of Justice (“DOJ”) largely rejects Appellees’ position and

endorses a broad understanding of Presidential immunity from civil suit.

Nevertheless, DOJ proposes an unprecedented specific carve out for speech that

incites imminent private violence, DOJ Brief at 2, and suggests that this Court

remand to the District Court to determine whether President Trump’s speech

qualifies as “incitement” under Brandenburg v. Ohio, 395 U.S. 444 (1969) and its

progeny. This is neither consonant with binding Supreme Court authority nor

necessary.

      First, President Trump’s speech falls well within the broad scope of absolute

immunity suggested by DOJ.

      Second, DOJ’s argument for importing the Brandenburg standard into

absolute immunity defeats the purpose of having absolute immunity. Absolute

immunity aims to prevent the President from being subjected to the process of civil

litigation. It recognizes that the President is a prominent national figure and constant

target for litigation. The very concept of Presidential immunity assumes some level

of conduct that is wrongful yet beyond the reach of civil liability. Collapsing the

standard for Presidential immunity into the standard for protected First Amendment

activity effectively ignores these purposes; it throws open the doors for civil claims

against a President and creates a stricter standard for a President than for ordinary


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federal officials, who have successfully claimed qualified immunity on far more

egregious facts.

        Third, President Trump’s speech is protected speech under the Brandenburg

test. Brandenburg emphasizes the importance of looking at the actual words of a

purportedly inciting statement. That speech is before the Court. President Trump

never instructed the crowd to engage in unlawful activity. To the contrary, he

explicitly stated that supporters would “soon be marching over to the Capitol to

peacefully and patriotically make your voices heard.” Even if DOJ’s standard were

correct—and it is not—there would be no need to remand this case: this Court should

find on the record before it that President Trump’s speech is protected under

Brandenburg.

                                   ARGUMENT

   I.      DOJ Endorses a Broad View of Presidential Immunity

        DOJ correctly endorses a broad view of Presidential immunity. It recognized

that “[t]he traditional ‘bully pulpit’ of the Presidency” falls within the scope of

absolute immunity. See DOJ Brief at 12; Id. at 15. Moreover, the President’s use

of the bully pulpit “is not limited to speech concerning matters for which the

President himself bears constitutional or statutory responsibility;” it includes

“matters over which the Executive Branch—or the federal government as a whole—




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has no direct control,” id. at 12, including matters constitutionally committed to

another branch of government, such as Congress.

         DOJ recognized that the line between “official” and “campaign” activities,

particularly with respect to speech addressing matters of public concern, is

vanishingly thin.       Therefore, Presidential immunity is broader than even

Congressional immunity under the Westfall Act, id. at 14 n.3, and “conduct

occurring in the context of a political campaign” may fall within the scope of

Presidential immunity. Id. at 12.

         Finally, DOJ recognized that a claim based on a failure to take an official

action is foreclosed by Presidential immunity. DOJ Brief at 15.

   II.      The DOJ’S Proposed Test is Irreconcilable with Nixon

         DOJ’s proposed carveout from presidential immunity for speech on matters

of public concern that might “plausibly” be alleged to have tipped over into

incitement due to contextual factors (i.e., despite its plain language) is irreconcilable

with Nixon v. Fitzgerald, 457 U.S. 731 (1982).

         The Nixon Court analogized presidential immunity to prosecutorial immunity,

which itself was based on an analogy to judicial immunity. See Imbler v. Pachtman,

424 U.S. 409 (1976). As the Court noted, the President “must concern himself with

matters likely to ‘arouse the most intense feelings.’” Nixon, 457 U.S. at 752 (quoting

Pierson v. Ray, 386 U.S. 547, 554 (1967)). Moreover, “[i]n view of the visibility of


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his office and the effect of his actions on countless people, the President would be

an easily identifiable target for suits for civil damages.” Nixon, 457 U.S. at 753. An

awareness of “this personal vulnerability frequently could distract a President from

his public duties, to the detriment of not only the President and his office but also

the Nation that the Presidency was designed to serve.” Id. Thus, Presidential

immunity is premised on the idea that the President is a prominent target for

allegations of wrongdoing, and that fear of such allegations is likely to “distract” the

President, even if he is ultimately vindicated.

      At its core, DOJ’s argument is that “plausibly” illegal or unprotected conduct

is outside the scope of Presidential immunity. DOJ argues that “[n]o part of a

President’s official responsibilities includes incitement of imminent private

violence,” therefore “[b]y definition, such conduct plainly falls outside the

President’s constitutional statutory duties.” DOJ Brief at 16.

      DOJ’s argument misses the point of absolute immunity. Immunity matters

only if a President is alleged to have done something wrong. After all, if a plaintiff

does not have an at least arguable claim that a President acted wrongfully, a civil

suit would either not be brought or would be promptly disposed of on a motion to

dismiss under Rule 12(b)(6) irrespective of presidential immunity.

      Dispositively, the Court in Nixon rejected a remarkably similar argument. In

Nixon, the Respondent claimed that he was illegally dismissed in retaliation for his


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testimony to Congress. Nixon, 457 U.S. at 736. More specifically, he argued that

unlawful conduct, by virtue of being unlawful, cannot fall within the scope of the

President’s official duties and therefore is beyond the scope of presidential

immunity. Id. at 756. Because a statute protected federal employees, he argued that

any violation of that statute could not be within the scope of the President’s

responsibilities. Id. (“Because Congress has granted this legislative protection,

respondent argues, no federal official could, within the outer perimeter of his duties

of office, cause Fitzgerald to be dismissed without satisfying this standard in

prescribed statutory proceedings.”).

      The Court firmly rejected this approach. “Adoption of this construction…

would deprive absolute immunity of its intended effect” because it “would subject

the President to trial on virtually every allegation that an action was unlawful, or was

taken for a forbidden purpose.” Nixon, 457 U.S. at 756.

       Here, DOJ attempts to distinguish this case from Nixon by restricting its

proposal to Presidential speeches, incorrectly arguing that only speech that qualifies

as incitement of private violence is outside the scope of a President’s lawful duties,

and emphasizing the supposedly “narrow” nature of that novel exception. In doing

so, DOJ fails to justify its proposed departure from Nixon for speech torts. DOJ’s

new carve out is a sui generis rule applied ex post facto that has no underlying




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principle or explanation beyond “we think what President Trump did was bad.” This

is not how the rule of law works.

    III.   There is No Need to Remand this Case to the District Court

       DOJ suggests that this Court could affirm and remand the case because

President Trump has not yet appealed the District Court’s ruling not accepting his

First Amendment defense. Of course, because this interlocutory appeal was limited

to President Trump’s immunity defense, and before DOJ there was no suggestion

that Presidential immunity should be coextensive with the First Amendment,

President Trump could not have raised the issue on appeal.1 Remanding this case

would serve only to delay.

       The sole issue under Brandenburg is President Trump’s speech on January

6th. Thompson v. Trump, 590 F. Supp. 3d 46, 113 (D.D.C. 2022) (“Plaintiffs do not

contend that President Trump’s words prior to the January 6th Rally Speech (almost

entirely through tweets) meets the Brandenburg incitement exception. They focus

on the Rally Speech.”). President Trump’s January 6th speech is already in the

record as is the District Court’s opinion not accepting President Trump’s First

Amendment defense. Thompson, 590 F. Supp. 3d at 113–18 (D.D.C. 2022). The



1
 Tellingly, Appellees also appear not to have advocated for DOJ’s position. See
generally Oral Argument Transcript at 66:15-16, Blassingame v. Trump, Case No.
22-5069 (D.C. Cir. Dec. 7, 2022) (Sellers: “I don’t think the Brandenburg standard
governs here.”).
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chance that the District Court will reach a different conclusion if the defense at issue

is Presidential immunity as a derivative of the First Amendment as opposed to the

First Amendment directly is effectively zero. Under such circumstances, no remand

is required. See, e.g., Easley v. Cromartie, 532 U.S. 234, 257 (2001) (finding clear

error and reversing without remand because “we do not believe that providing

appellees a further opportunity to make their…arguments in the District Court could

change the result”).2

      Needlessly subjecting Appellant to the judicial yo-yo treatment that DOJ

suggests disregards immunity’s role in protecting against not just liability but also

litigation. If this Court believes further briefing desirable, it can direct the parties

accordingly.




2
  The argument against remand is stronger here. Unlike in Easley, where the
standard of review was clear error, this court must review the protected status of
President Trump’s speech de novo under the Constitutional Facts Doctrine. U.S.
Bank Nat’l Ass’n v. Vill. at Lakeridge, LLC, 583 U.S. __, 138 S. Ct. 960, 967 n. 4
(2018) (“In the constitutional realm….we have often held that the role of appellate
courts ‘in marking out the limits of a standard through the process of case-by-case
adjudication’ favors de novo review even when answering a mixed question
primarily involves plunging into a factual record.” (quoting Bose Corp. v.
Consumers Union of United States, Inc., 466 U.S. 485, 503 (1984)); Bose Corp.,
466 U.S. at 508 n. 27 (“The simple fact is that First Amendment questions of
‘constitutional fact’ compel this Court’s de novo review.”) (internal citations
omitted).
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   IV.    President Trump’s Speech Is Protected Under Brandenburg

      “[S]peech on public issues occupies the highest rung of the hierarchy of First

Amendment values, and is entitled to special protection.” Snyder v. Phelps, 562 U.S.

443, 452 (2011) (quoting Connick v. Myers, 461 U.S. 138, 145 (1983)) (quotation

marks omitted). Moreover, “[t]he arguably ‘inappropriate or controversial character

of a statement is irrelevant to the question whether it deals with a matter of public

concern.’” Id. at 453 (quoting Rankin v. McPherson, 483 U.S. 378, 387 (1987)).

And, “[w]here the First Amendment is implicated, the tie goes to the speaker.” Fed.

Election Comm’n v. Wisc. Right to Life, 551 U.S. 449, 474 (2007).

      As the Sixth Circuit has summarized, “[t]he Brandenburg test precludes

speech from being sanctioned as incitement to riot unless (1) the speech explicitly

or implicitly encouraged the use of violence or lawless action, (2) the speaker intends

that his speech will result in the use of violence of lawless action, and (3) the

imminent use of violence or lawless action is the likely result of his speech.”

Nwanguma v. Trump, 903 F.3d 604, 609 (6th Cir. 2018) (quoting Bible Believers v.

Wayne Cty., 805 F.3d 228, 246 (6th Cir. 2015) (en banc)).

      President Trump’s speech is constitutionally protected. First, there is nothing

in the speech explicitly encouraging violence or lawless action. See Thompson, 590

F. Supp. 3d at 115 (“The President’s words on January 6th did not explicitly

encourage the imminent use of violence or lawless action.”). Rather, President


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Trump explicitly advocated non-violence, stating “I know that everyone here will

soon be marching over to the Capitol building to peacefully and patriotically make

your voices heard.”

      Second, President Trump’s speech did not implicitly encourage the use of

violence or lawless action. The District Court erred in pointing to phrases such as

“fight like hell. And if you don’t fight like hell, you’re not going to have a country

anymore” to suggest that President Trump was “plausibly” encouraging his

supporters to literally “fight.” Id. (“[T]he court concludes that the President's

statements that, “[W]e fight. We fight like hell and if you don't fight like hell, you're

not going to have a country anymore,” and “[W]e're going to try to and give [weak

Republicans] the kind of pride and boldness that they need to take back our country,”

immediately before exhorting rally-goers to “walk down Pennsylvania Avenue,” are

plausibly words of incitement not protected by the First Amendment.”).

      In Hess v. Indiana, the Court found that stating “[w]e’ll take the f[***]ing

streets later (or again)” while standing in front of a crowd of antiwar demonstrators

after a number of demonstrators had just been forcibly removed from the street was

protected speech. 414 U.S. 105, 107 (1973). Similarly, in Nwanguma, the Court

found that exhorting a crowd to “get ‘em out of here” several times in reference to a

protestor at a political rally was neither an explicit nor implicit exhortation to

violence, particularly when coupled with the admonition “don’t hurt ‘em.”


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Nwanguma, 903 F.3d at 611–12. President Trump’s actual words on January 6th are

less inflammatory than those at issue in Hess or Nwanguma, and do not qualify as

“implicit” incitement. See generally Oral Argument Transcript at 66:1-5,

Blassingame v. Trump, Case No. 22-5069 (D.C. Cir. Dec. 7, 2022) (Katsas, J.:

“[Nwanguma] seems to stand for the proposition that if the words themselves are

not very inciting, and the primary danger comes from the powder keg, that’s not

enough to eliminate first amendment protection under Brandenburg.”)

      The District Court’s contention also ignores the full textual context of

President Trump’s words. President Trump’s use of the word “fight” was clearly

metaphorical, referring to a political “fight,” not a literal fistfight or other violent

interaction. For example, he stated, in reference to Rudy Giuliani, “He’s got guts.

He fights, he fights.” No reasonable listener would understand that metaphorical

statement to suggest that Mr. Giuliani, a 76-year-old man, is getting into fist fights.

Similarly, President Trump referred to Jim Jordan and other Congressmen, stating

“they’re out there fighting. The House guys are fighting.” Rep. Jordan is no Preston

Brooks, he is not caning people on the House floor; his “fight” is political. In

reference to the press, President Trump stated “it used to be that they’d argue with

me. I’d fight. So I’d fight, they’d fight, I’d fight, they’d fight. Pop pop. You’d believe

me, you’d believe them. Somebody comes out. You know, they had their point of

view, I had my point of view, but you’d have an argument.” This refers to verbal


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sparring. Whatever their differences may be, no one has plausibly claimed that

President Trump and his antagonists in the press have come to physical blows. When

read in context, President Trump’s exhortation to “fight” is unambiguously a

reference to applying political pressure, not engaging in illegal or violent activity,

even absent his exhortation to the crowd to proceed “peacefully.”

      Ironically, the District Court implicitly recognizes that references to “combat”

are metaphorical in evaluating speech by Rudolph Giuliani. Mr. Giuliani stated in

his speech, on the same day and stage as President Trump’s Rally Speech, “Let’s

have trial by combat” in “the context of his assertion that the election was rife with

criminal fraud.” Thompson, 590 F. Supp. 3d at 118. The District Court concluded

that Mr. Giuliani’s speech was “surely provocative, but it is not unprotected speech.”

Id. This holding is irreconcilable with the District Court’s ruling on President

Trump’s speech.

      The District Court attempts to distinguish Mr. Giuliani’s speech from

President Trump’s by claiming that Mr. Giuliani did not suggest where this “trial by

combat” would occur, while President Trump suggested walking to the Capitol.

Thompson, 590 F. Supp. 3d at 118. Location is a thin reed that cannot support the

weight the District Court places on it. It also ignores what President Trump actually

said about walking to the Capitol: “to peacefully and patriotically make your voices




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heard” and “try to give our Republicans…the kind of pride and boldness that they

need to take back our country.”3

      There is no implicit or explicit exhortation to violence in President Trump’s

speech. See generally Oral Argument Transcript at 64:5-7, Blassingame v. Trump,

Case No. 22-5069 (D.C. Cir. Dec. 7, 2022) (Katsas, J.: “[Y]ou just print out the

speech, which I have done, and read the words on the page, it doesn’t look like it

would satisfy the [Brandenburg] standard, right?”); Id. at 74:21-25 (Rogers, J.: “You

acknowledge I think that the statement, the actual words used by the President, are

not what the crowd actually did. In other words, the President didn’t say break in,

didn’t say assault members of Congress, assault Capitol Police, or anything like

that.”). The plain language of President Trump’s speech was not “incitement” under

Brandenburg.

      What is more, the District Court’s “plausibility” analysis simply underscores

that even if one could conclude that President Trump’s speech might “plausibly” be

alleged to have fallen on the wrong side of a Brandenburg-like test, that would be

no reason to deny President Trump immunity. It is well-settled that even qualified

immunity—by definition lesser than the absolute immunity at issue here—“protects

government officials ‘from liability for civil damages insofar as their conduct does



3
 For that matter, it also ignores President Trump’s later statements that day
exhorting the crowd to “Stay peaceful” and “remain peaceful.”
                                         12
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not violate clearly established statutory or constitutional rights of which a reasonable

person would have known.’” Pearson v. Callahan, 555 U.S. 223, 231,

(2009) (quoting Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982)). To be sufficiently

clearly established that immunity will not apply, “existing precedent must have

placed the statutory or constitutional question beyond debate.” Ashcroft v. al-

Kidd, 563 U.S. 731, 741 (2011) (emphasis added).

      Where, as here, the question whether President Trump’s speech crossed the

Brandenburg line is, at worst, a debatable proposition, it would make no sense to

hold that absolute Presidential immunity does not apply given that qualified

immunity—a lesser immunity—would. An immunity rule whose application turns

on at worst a debatable post hoc determination under Brandenburg cannot be

reconciled with Nixon.

                                   CONCLUSION

      President Trump’s speech falls within the perimeter of his duties as President.

This Court should reject the DOJ’s test as contrary to Nixon and determine that

President Trump is entitled to Presidential immunity in this suit.



Dated: March 23, 2023                     Respectfully submitted,

                                          /s/ Jesse R. Binnall
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                     CERTIFICATE OF COMPLIANCE


        Undersigned counsel certifies that this Reply Brief complies with

the type-volume limitation of Federal Rule of Appellate Procedure 5(c)(1)

because, excluding the parts of the Reply Brief exempted by Federal Rule

of Appellate Procedure 32(f) and D.C. Circuit Rule 32(e)(1), it contains

2,988 words.

        Undersigned counsel certifies that this Reply Brief complies with

the typeface requirements of Federal Rule of Appellate Procedure

32(a)(5) and the type-style requirements of Federal Rule of Appellate

Procedure 32(a)(6) because this brief has been prepared in a

proportionally spaced typeface using Microsoft Word in 14-point Century

font.



Dated: March 23, 2023                     Respectfully submitted,

                                          /s/ Jesse R. Binnall
                                          Jesse R. Binnall
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              CERTIFICATE OF FILING AND SERVICE


      I certify that on March 23, 2023, a copy of the foregoing was filed

with the Clerk of the Court using the Court’s CM/ECF system, which will

send a copy to all counsel of record.



                                         /s/ Jesse R. Binnall
                                         Jesse R. Binnall
                                         Attorney for Donald J. Trump




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